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 1                                                                Honorable Robert S. Lasnik
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 5
                                UNITED STATES DISTRICT COURT
 6
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   UNITED STATES OF AMERICA,
 9
                                                      No. CR16-100RSL
                         Plaintiff,
10
         v.                                           ORDER SEALING
11
     BINGHAM FOX,
12
                         Defendant.
13

14

15
            Having read the Defendant’s Motion to Seal and because of the sensitive
16
     information contained in the Defendant’s Objection to United States’ Notice of Fifth
17
     Amendment Concerns and Motion to Compel Use Immunity.
18
            It is hereby ORDERED that the Objection to United States’ Notice of Fifth
19
     Amendment Concerns and Motion to Compel Use Immunity, shall be and remain sealed.
20

21
            DATED this 20th day of March, 2017.
22

23

24
                                              A
25                                            Robert S. Lasnik
                                              United States District Judge




     ORDER SEALING
     [No. CR16-100RSL]
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